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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                         v.
                                                             CASE NO. 22-cr-19 (RCL)
GREGORY RICHARD PURDY, JR.,
MATTHEW PURDY, and
ROBERT TURNER,

                       Defendants.


                    UNITED STATES’ RESPONSE IN OPPOSITION TO
                       DEFENDANTS’ MOTIONS TO CONTINUE

       The Court should deny the defendants’ motions to continue the April 22, 2024, trial date. 1

The defendants have identified no sound basis for granting a stay pending Fischer, much less for

granting the continuance they request. Counsel for both Gregory Purdy and Robert Turner were

well-aware of the pending trial date set by the Court nearly a month ago when they agreed to their

representations of the defendants, and a delay would unduly prejudice the government’s

prosecution of this case and the public’s right to a speedy trial. For these reasons, the defendants’

motions should be denied.

                                        INTRODUCTION

       The defendants were initially charged by Complaint on November 4, 2021. Gregory Purdy

was appointed counsel from the Criminal Justice Act (CJA) Panel and was initially represented by

attorney Robert Jenkins. See ECF No. 11. Matthew Purdy was appointed CJA counsel and was

initially represented by attorney Christopher Macchiaroli. See Minute Order, Nov. 18, 2021,


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         The government additionally opposes Gregory Purdy’s “Emergency Motion for
Continuance and Status Conference” (ECF No. 115). Given the reasons stated in that motion are
largely subsumed by Robert Turner’s motion (ECF No. 108) the government is filing one
opposition to both motions.
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Robert Turner was later added to the case, similarly appointed counsel, and was initially

represented by Assistant Federal Public Defender (FPD) Sabrina Shroff. See Minute Order, Nov.

30, 2021.

       On January 14, 2021, the grand jury returned a nine-count indictment charging Gregory

Purdy and Robert Turner with Counts One through Nine of the Indictment and charging Matthew

Purdy with Counts Four, Five, Seven, and Nine. See ECF No. 22. On April 28, 2022, the FPD’s

office replaced Assistant FPD Shroff with Assistant FPD Edward Smock.

       On June 28, 2022, Gregory Purdy, by his personal motion, requested that the Court allow

Mr. Jenkins to withdraw from his representation of Gregory Purdy due to “irreconcilable

differences which [prevent] effective representation.” ECF No. 34. On July 6 and 7, 2022, attorney

Marc Eisenstein and Barry Coburn entered appearances for Gregory Purdy and the Court granted

Mr. Jenkins’s motion to withdraw on July 12, 2022. See ECF Nos. 35 & 36, and Minute Order,

Jul. 12, 2022.

       On February 6, 2023, Robert Turner similarly requested new counsel, “indicat[ing] that he

[did] not wish to be represented by” Mr. Smock. See ECF No. 49. On February 9, 2023, two

Assistant FPDs, Deke Falls and Brittany Sherron, were appointed to represent Robert Turner. See

ECF Nos. 52 & 53. On February 13, 2023, the Court granted Mr. Smock’s request to withdraw.

See Minute Order, Feb. 13, 2023.

       In October 2023, Mr. Coburn, Mr. Falls, Ms. Sherron, and Mr. Macchiaroli all moved to

withdraw as counsel. See ECF Nos. 82-85. The defendants had retained private counsel, Melissa

Issak, to represent all three in this matter. See ECF Nos. 86 & 87. The United States registered the

potential for conflicts of interest arising between the three defendants proceeding with one counsel.

See United States’ Response to Defendants Motion to Withdraw as Counsel, ECF No. 86, at 7.



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The United States requested the Court conduct an interview of the defendants to ensure their

waiver of conflicts was fully knowing and voluntary. See Id. On December 18, 2023, this Court

found that the defendants’ waiver of their right to conflict-free representation was knowing,

intelligent, and voluntary; the Court accordingly granted the prior attorneys’ requests to withdraw.

See Minute Order, Dec. 18, 2023.

       After over two years of continuances and delays—due in large part to defendants’ constant

legal turnover—on February 29, 2024, this Court set this case for its current April 22, 2024, trial

date. By then, Ms. Issak had been on the case for six months. Almost a month later, Gregory Purdy

and Robert Turner each hired an additional (and distinct) trial counsel. See ECF Nos. 105 & 107.

No reason was given for this change of heart. On March 22, 2024, defense counsel requested the

government’s position with respect to a potential continuance. Defendant Robert Turner,

apparently joined by the Purdys, now asks this Court to continue the trial date for “reasons.” See

ECF Nos. 108 and 115.

                                           ARGUMENT

       A.      Legal Standard

       Staying one case while “a litigant in another [case] settles the rule of law that will define

the rights of both”—as the defendants are effectively requesting by invoking the Supreme Court’s

certiorari in Fischer—is granted “only in rare circumstances.” Asylumworks v. Mayorkas, No. 20-

CV-3815 (BAH), 2021 WL 2227335, at *5 (D.D.C. June 1, 2021) (quoting Landis v. N. Am. Co.,

299 U.S. 248, 255 (1936))). When evaluating whether to issue a stay, “a court considers four

factors: ‘(1) whether the stay applicant has made a strong showing that he is likely to succeed on

the merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance

of the stay will substantially injure the other parties interested in the proceeding; and (4) where the

public interest lies.’” Nken v. Holder, 556 U.S. 418, 426 (2009) (quoting Hilton v. Braunskill, 481
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U.S. 770, 776 (1987)). The third and fourth factors “merge” when a party moves for a stay against

the government. Id. at 435. A stay “‘is not a matter of right, even if irreparable injury might

otherwise result.’” Id. at 433 (quoting Virginian Ry. Co. v. United States, 272 U.S. 658, 672

(1926)). The party seeking the stay bears the burden of “mak[ing] out a clear case of hardship or

inequity in being required to go forward, if there is even a fair possibility that the stay for which

he prays will work damage to someone else.” Landis, 299 U.S. at 255.

       Additionally, in the context of a continuance for new counsel (as the defendants are also

suggesting here), a defendant’s Sixth Amendment right to continued representation is not absolute

where a continuance is sought to retain or replace counsel of choice. See United States v. Burton,

584 F.2d 485, 489 (D.C. Cir. 1978). A defendant’s right to counsel, “must be carefully balanced

against the public’s interest in the orderly administration of justice.” Id. When considering a

motion for a continuance based on new counsel, a trial court should weigh the following factors:

       [T]he length of the requested delay; whether other continuances have been requested and
       granted; the balanced convenience or inconvenience to the litigants, witnesses, counsel,
       and the court; whether the requested delay is for legitimate reasons, or whether it is dilatory,
       purposeful, or contrived; whether the defendant contributed to the circumstance which
       gives rise to the request for a continuance; whether the defendant has other competent
       counsel prepared to try the case, including the consideration of whether the other counsel
       was retained as lead or associate counsel; whether denying the continuance will result in
       identifiable prejudice to defendant's case, and if so, whether this prejudice is of a material
       or      substantial     nature;     [and]       the      complexity       of     the       case

U.S. v. Eiland, 738 F.3d 338, 355 (D.C. Cir. 2013) (quoting Burton, 584 F.2d at 490-491).

       B.      The Court Should Deny the Defendants’ Motion to Continue and/or Stay

       The defendants’ motions should be denied because all relevant factors weigh against their

request. The government already responded to a defense motion to stay pending the Supreme

Court’s grant of certiorari in Fischer. See ECF No. 113. Instead of repeating those arguments here,




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the government hereby incorporates all its arguments against a stay based on the pendency of

Fischer.

       The defendants’ request for a continuance based on their recent addition of additional

attorneys fares no better, as the defendants have failed to satisfy the applicable Burton factors.

First, this case has been pending and indicted for over two years, and the requested continuance of

60 to 90 days unduly prejudices the government and would “significantly [disrupt] the schedules

of the court and the prosecution.” U.S. v. Poston, 902 F.2d 90, 97 (D.C. Cir. 1990) (J. Thomas).

Since the Court set the April 22 date, the government has begun in earnest to prepare for trial,

finalizing exhibits, interviewing witnesses, and scheduling witness travel and availability.

       Second, defendants have, in total, requested new counsel four times with multiple

continuances granted each time to facilitate defendants’ requests. The government did not oppose

those continuances. Now, defendants request further delay so their new additional counsel can

prepare for trial. The defendants, however, are not starting from scratch with their representation.

Although Ms. Issak filed a motion to cease representing two defendants, she is nonetheless

remaining on the case and will be able to continue the defendants’ presumably ongoing trial

preparations. Further, Mr. Barket and Mr. Pallas have experience trying cases related to the riot

that occurred on Capitol grounds on January 6, 2021, and so are familiar, at a minimum, with the

foundational background facts of the events of that day. See, e.g., United States v. Wren et al., 21-

cr-599 (RBW) (trial commenced April 17, 2023).

       Third, the defendants are directly responsible for the requested delay, as they waited until

recently—approximately a month before trial—to obtain additional counsel.                They cannot

persuasively point to their own actions as prejudicial against their defense. Further, as stated above,

Mr. Barket and Mr. Pallas are joining the defense team, not replacing Ms. Issak as counsel for the



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defendants. The Burton factors specifically contemplate this scenario and weigh against granting

a continuance. See Burton, 584 F.2d at 490-91. Indeed, when faced with a similar situation of a

last-minute replacement of counsel, the Court of Appeals in United States v. Poston upheld the

trial court’s decision to deny the continuance. 902 F.2d at 97. To ensure continuity of counsel, the

trial court required the defendant’s prior counsel to remain on to assist the new attorney. Id. Here,

the Court need not even take that prophylactic step as Ms. Issak is not leaving the case. If anything,

the addition of counsel to the defense team will aid Ms. Issak’s preparation for trial. With the

addition of two defense counsel with experience in January 6-related trials, the defendants are,

presumably, already better off now than they were when this Court set the April 22 trial date. 2

       Finally, the defense cites no reason for the late addition of counsel in this matter and points

to no specific prejudice that the defendants would suffer if the Court were to deny the continuance.

See Eliand, 738 F.3d at 366-67 (“In order to obtain reversal, an appellant must show that actual

prejudice resulted from denial of the continuance.”) (quoting United State v. Celis, 608 F.3d 818,

839 (D.C.Cir. 2010). To the contrary, although the Court is not required to make such a finding in

this case, the defendants’ failure to provide a sound justification for the timing of their actions and

request could itself be viewed as indicative of a “dilatory, purposeful, or contrived” motive. See

Burton, 584 F2d at 490-91; See also Poston, 902 F.2d at 97 (“Since [defendant] provided no

justification for the delay in selecting new counsel, the trial court could reasonably have concluded

that his motion was dilatory, purposeful, or contrived.”) (external quotations and citations

omitted).




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         In fact, Mr. Pallas specifically advertises his experience in cases relating to the riot at
the Capitol on January 6, 2021, in his biography found on his firm’s website. See
https://www.duimiamilawyer.com/attorney/pallas-george-t/ (last accessed March 27, 2024).
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                                         CONCLUSION

       The defendants’ motions to continue fail the Burton factors for granting a continuance in

this matter. Many continuances have been granted in this case specifically to allow defendants to

change counsel four times. Defendants have pointed to no specific prejudice they would suffer

without a continuance, and none exists. Finally, as the government explained in its prior filing, no

stay is warranted because of the Supreme Court’s grant of a writ of certiorari in Fischer. The

defendants’ motions should be denied.

                                              Respectfully submitted,

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